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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia

                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530



                                                     BY EMAIL

                                                     June 23, 2021


Edward B. MacMahon, Jr.
EDWARD B. MACMAHON, JR., PLC
P.O. Box 25
107 East Washington Street
Middleburg, VA 20118


                              Re: United States v. John Lolos, 1:21-cr-00243-APM-1


Dear Mr. MacMahon:

       Today, the Government supplemented its prior discovery productions by uploading the
following to your USAfx files:

1.     FBI 302 dated June 17, 2021.

We will continue to supplement the discovery in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

       I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
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Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant disclose prior statements of any witnesses defendant intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,


                                                    /s/ Anthony L. Franks
                                                    Anthony L. Franks
                                                    Assistant United States Attorney




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